Case 3:07-cr-02985-WQH         Document 138       Filed 01/29/08     PageID.435        Page 1 of 1



  1   STEPHEN P. WHITE
      Attorney at Law
  2   State Bar No. 125276
      101 West Broadway, Suite 1950
  3   San Diego, CA 92101
      Tel: (619) 702-3753
  4        FAX: 238-9914
  5   Attorney for Defendant
      EDDIE BARAJAS
  6
  7
  8                            UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   UNITED STATES OF AMERICA,                 ) Case No. 07-cr-2985-WQH
                                                )
 12                     Plaintiff,              )
                                                ) ORDER FOR COPY CONNECTION
 13   vs.                                       ) TO BILL THE COURT
                                                )
 14   EDDIE BARAJAS,                            )
                                                )
 15                                             )
                        Defendant.              )
 16   __________________________________________)
 17          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT authorization is hereby made
 18   for the direct payment to Copy Connection for Order #5 in the amount of $1,673.89, 1010 Second
 19   Avenue, Suite 130B, San Diego, CA 92101, 619/235-6975, for future discovery costs materials provided
 20   in Case No. 07CR2985-WQH
 21
 22          SO ORDERED.
 23   DATED: January 29, 2008
 24
                                                         WILLIAM Q. HAYES
 25                                                     United States District Judge
 26
 27
 28


                                                       1

                                  ORDER FOR DIRECT PAYMENT TO COPY CONNECTION
